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CRIMINAL COMPLAINT
(Electronically Submitted)
United States District Court DISTRICT of ARIZONA
United States of America DOCKET NO.
Vv.
Megan Paige

MAGISTRATE'S CASE NO.
25-04799MJ
Complaint for violation of Title 8 United States Code § 1324(a)(1)(A)Gi) 1324(a)(1)(B)@).

COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:

On or about March 4, 2025, in the District of Arizona, Megan Paige, knowing and in reckless disregard of the fact
that certain illegal aliens, to include Eduardo Francisco Sierra-Ramirez and Juan Orlando Orellano-Diaz, had come to,
entered, and remained in the United States in violation of law, did transport and move said aliens within the United
States by means of transportation and otherwise, in furtherance of such violation of law and did so for the purpose of
private financial gain; in violation of Title 8, United States Code, Sections 1324(a)(1)(A)(ii) and 1324(a)(1)(B)@.

BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:

On March 4, 2025, in the District of Arizona (Three Points), at approximately 8:30 p.m., Border Patrol Agents (BPAs)
were observing traffic at the intersection of State Route (SR) 86 and SR 286 near Three Points, Arizona. BPAs noted
that previous arrests and seizures in this area indicate that smuggling organizations utilize this area to load migrants
and contraband into vehicles. At approximately 9:00 p.m., BPAs observed a gray Jeep Compass travelling east on
SR 86. BPAs stated that they only observed one visible occupant in the vehicle and noted that the vehicle appeared
to be riding very low on the rear suspension. While travelling behind the Jeep Compass, BPAs observed two
occupants in the back seat and decided to run records checks on the vehicle. BPAs stated the vehicle records returned
out of Show Low, Arizona. BPAs conducted an immigration stop on the vehicle. BPAs noted that as the vehicle
yielded, the driver, identified as Megan PAIGE, exited the vehicle and ran approximately ten yards before giving up
and being placed in custody. BPAs stated that as they approached the passenger side of the vehicle, they observed
multiple occupants laying on top of each other in the back seat and cargo area. BPAs conducted an immigration
inspection on the occupants of the vehicle, two of which were identified as Eduardo Francisco Sierra-Ramirez and
Juan Orlando Orellano-Diaz, and they were determined to be citizens of Mexico and Honduras, illegally present in the
United States. Records checks revealed that Eduardo Francisco Sierra-Ramirez and Juan Orlando Orellano-Diaz do
not possess the proper documentation to enter, pass through, or remain in the United States legally.

DOB: 1999; United States Citizen

Material witness Eduardo Francisco Sierra-Ramirez stated that he is a citizen of Mexico and that he paid a total of
$6,000 to be smuggled into the United States. Sierra stated that he illegally crossed the International Boundary Fence
with three other individuals and that he intended to be smuggled to Phoenix, Arizona. Sierra stated that his group was
guided through the desert via cell phone, and they did not have a foot guide. Sierra stated that when he arrived at the
location given to him over the phone, there were four other individuals waiting there. Sierra stated that he was given
a description of the load vehicle over the phone. Sierra described the vehicle as a small, gray four-door Cherokee.
Continued on next page.

MATERIAL WITNESS IN RELATION TO THE CHARGE: Eduardo Francisco Sierra-Ramirez and Juan Orlando Orellano-Diaz

Detention Requested ee } URE OF COMPLAINANT

Being duly sworn, I declare that the foregoing is oY
true and correct to the best of my knowledge. OFFICIAL TITLE

Border Patrol Agent

Sworn by telephone x _

DATE

SIGNATURE OF MAGISTRATE JUDGED
Ypres. Ropellns— March 5, 2025

4 See Federal rules of Criminal Procedure Rules 3, 4.1, and “

Reviewing AUSA: Chamblee

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Sierra stated that when the vehicle arrived, the middle seats were already down, and all eight individuals got into the
back of the vehicle. Sierra stated that the driver was wearing sweatpants and a white blouse and was speaking to them
in English. Sierra described the driver as a tall, light-skinned female with green eyes. Sierra stated that the driver
stopped the vehicle after seeing Border Patrol and she started running away.

Material witness Juan Orlando Orellano-Diaz stated that he is a citizen of Honduras and that he was going to pay a total
of $6,000 to be smuggled into the United States. Orellano stated that he had paid $4,000 already and was going to pay
the remaining balance once he arrived inJowa. Orellano stated that he crossed into the United States with six or seven
other individuals where there was no border fence present. Orellano stated that he walked for four days and met up
with other individuals along the way. Orellano stated that a total of eight individuals made it to the pickup location
near a highway. Orellano stated the driver arrived in a gray Jeep Cherokee and flashed their lights to signal to the
group. Orellano stated that he got into the backseat of the vehicle. Orellano stated that when the Border Patrol pulled
them over, the driver exited the vehicle and started to run. Orellano stated that the driver was a female.

